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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 THOMAS MITCHELL KLEIN and          )
 ANNIE J. RICE,                     )
                                    )
        Plaintiffs,                 )
                                    )
        v.                          )                   CAUSE NO.: 1:05-CV-283-TS
                                    )
 DEPUY, INC., DEPUY ORTHOPAEDICS, )
 INC., and JOHNSON & JOHNSON, INC., )
                                    )
        Defendants.                 )

                                      OPINION AND ORDER

        The Plaintiffs, Thomas Mitchell Klein and Annie J. Rice, sued the Defendants, Depuy,

 Inc., Depuy Orthopaedics, Inc., and Johnson & Johnson, Inc., asserting product liability, failure

 to warn, negligence, negligent and fraudulent misrepresentation, breach of warranties, intentional

 and negligent infliction of emotional distress, and loss of consortium arising out of Thomas

 Klein’s total hip replacement. The Defendants’ prosthesis and component parts were used in

 Klein’s hip replacement surgery. This matter is before the Court on the Defendants’ Motion for

 Summary Judgment as to the Statute of Repose [DE 19].

        The resolution of the Motion for Summary Judgment turns on which of two statutes of

 repose apply to this diversity action: (1) Indiana’s ten-year statute of repose; or (2) North

 Carolina’s six-year statute of repose. The Plaintiffs are citizens of North Carolina; Mr. Klein’s

 surgery took place in North Carolina; and the prothesis was manufactured in Indiana. The

 Defendants argue that North Carolina’s six-year statue of repose bars the Plaintiffs’ claims. The

 Plaintiffs argue that Indiana law governs this case and that their claims were filed within its ten-

 year statute of repose as well as all other statutory limitations. They also assert that even if North
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 Carolina substantive law applies to their case, their claims are not barred because the North

 Carolina statute of repose does not apply to their disease-related products liability action.



                                          BACKGROUND

        On August 15, 2005, the Plaintiffs filed their ten-count Complaint against the Defendants

 alleging that the hip prosthesis manufactured by the Defendants and surgically implanted in

 Klein was defective and caused injury to the Plaintiffs. Klein claims that the hip prosthesis had a

 manufacturing or design defect, was marketed without adequate warnings, and was negligently

 manufactured and designed. He also alleges that the Defendants negligently misrepresented the

 product, fraudulently misrepresented the product, breached an implied warranty of

 merchantability, breached an express warranty of merchantability, and intentionally and

 negligently inflicted Klein with emotional distress. Plaintiff Rice asserts a claim for loss of

 consortium.

        On October 13, 2005, the Defendants answered and on October 18, they filed an

 Amended Answer to assert a defense that the Plaintiffs’ claims were barred by the applicable

 statute of repose.

        On January 19, 2006, the Defendants moved for summary judgment on the Plaintiffs’

 claims on the basis that they were not filed within the time provided by North Carolina’s six-year

 statute of repose. On April 21, 2006, the parties filed a joint motion for extension of deadlines

 because the Plaintiff was scheduled to undergo surgery on his hip, after which he could

 determine whether he would proceed with his claim that the hip prothesis failed or terminate the

 litigation. On May 3, the Court granted the motion to extend deadlines. On June 15, 2006, the


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 Plaintiffs notified the Court of their intention to proceed with their claims and, on June 30,

 responded to the Motion for Summary Judgment. On July 18, the Defendants replied.

        On October 5, 2006, the Court held a conference with the parties’ counsel to set a

 briefing schedule on an issue of law raised by the Defendants’ reply: whether the North Carolina

 Supreme Court would recognize a disease exception to the state’s product liability statute of

 repose. Accordingly, on October 23, the Plaintiffs filed a Sur-Response and, on November 6, the

 Defendants filed a Sur-Reply.



                                            STATEMENT OF FACTS

        The Plaintiffs are residents and citizens of North Carolina. Defendant Depuy, Inc., is a

 Delaware Corporation with its principal place of business in Indiana. Depuy is a wholly-owned

 subsidiary of Johnson & Johnson. Depuy Orthopaedics, in turn, is a wholly owned subsidiary of

 Depuy. Depuy Orthopaedics is an Indiana corporation with its principal place of business in

 Warsaw, Indiana, where it manufactures orthopedic and related products.1

        In 1998, Plaintiff Mitch Klein underwent left hip replacement surgery. The prosthesis

 used in his surgery was manufactured by Depuy Orthopaedics. Some time later, Klein reported

 to his orthopedic surgeon, Dr. Jack W. Bowling, Jr., a sensation of instability and severe pain in

 his left hip. Dr. Bowling diagnosed a failed total hip arthroplasty due to aspectic loosening,

 asymmetric, polyethylene debris, and osteolysis. On June 9, 2006, Dr. Bowling performed

 surgery for revision of the left hip replacement; he removed various components of the hip

 prosthesis and confirmed his preoperative diagnosis of osteolysis.


        1
            Hereinafter, the Court will refer to the related entities as “the Defendant.”

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         During the surgery, Dr. Bowling saw about one centimeter of degeneration in Klein’s

 proximal femur, caused by a disease known as osteolysis. Dr. Bowling explains in his affidavit

 filed in response to the Defendant’s Motion for Summary Judgment that osteolysis is a

 progressive disease commonly seen in conjunction with artificial joint replacement. He states

 that it is caused by an inflammatory reaction to particulate debris from an artificial joint,

 especially from polyethylene debris. Dr. Bowling believes that the hymlamer cup liner used in

 the Plaintiff’s hip wore at a faster rate than predicted, causing excessive amounts of polyethylene

 debris to fall down into Klein’s proximal femur area, resulting in osteolysis. Dr. Bowling

 contends that the osteolysis, in turn, caused the Plaintiff’s pain and caused his hip prosthesis to

 fail.

         The Plaintiff received all his medical care in North Carolina where he lives.



                                            DISCUSSION

 A.      Choice of Law Rules

         “A federal court sitting in diversity jurisdiction must apply the substantive law of the

 state in which it sits,” Land v. Yamaha Motor Corp., 272 F.3d 514, 516 (7th Cir. 2001) (citing

 Erie R.R. Co. v. Tompkins, 304 U.S. 64 (1938) and Jean v. Dugan, 20 F.3d 255, 260 (7th Cir.

 1994)), including the state’s conflict rules, Land, 272 F.3d at 516. Accordingly, the Court must

 apply Indiana’s choice of law rules.

         In tort cases, Indiana’s choice of law analysis involves multiple inquiries. Simon v.

 United States, 805 N.E.2d 798, 804–05 (Ind. 2004). As a preliminary matter, “the court must

 determine whether the differences between the laws of the states are ‘important enough to affect


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 the outcome of the litigation.’” Id. at 805 (citing Hubbard Mfg. Co., v. Greeson, 515 N.E.2d

 1071, 1073 (Ind. 1987)). If there is no conflict between the purpose or policy of the laws of the

 two states, a false conflict exists, and the forum’s law applies. See Lutz v. DeMars, 559 N.E.2d

 1194, 1196 n.1 (Ind. Ct. App. 1990) (citing E. Scoles and P. Hay, Conflict of Laws § 17.32

 (1984 ed.)). If such differences do exist, the presumption in Indiana is that the traditional lex loci

 delicti rule applies and that the court will apply the substantive law of “the state where the last

 event necessary to make an actor liable for the alleged wrong takes place.” Simon, 805 N.E.2d. at

 805 (citing Hubbard, 515 N.E.2d at 1073).

        This presumption is not conclusive, however. It may be overcome if the court is
        persuaded that the place of the tort “bears little connection” to this legal action.
        If the location of the tort is insignificant to the action, the court should consider
        other contacts that may be more relevant, such as: 1) the place where the conduct
        causing the injury occurred; 2) the residence or place of business of the parties;
        and 3) the place where the relationship is centered. These factors are not an
        exclusive list nor are they necessarily relevant in every case. All contacts should
        be evaluated according to their relative importance to the particular issues being
        litigated. This evaluation ought to focus on the essential elements of the whole
        cause of action, rather than on the issues one party or the other forecasts will be
        the most hotly contested given the anticipated proofs.

 Id.



 1.     Differences between Indiana and North Carolina Law

        The issue to be resolved in this case—whether the action was timely filed—is subject to a

 conflict between North Carolina’s six-year statute of repose and Indiana’s ten-year statute of

 repose. “A statute of repose prevents a plaintiff from bringing an action a certain number of

 years after the defendant’s act or omission, regardless of whether the plaintiff has suffered an

 injury.” Bryant v. Don Galloway Homes, Inc., 556 S.E.2d 597, 600 (N.C. Ct. App. 2001) (citing


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 Monson v. Paramount Homes, Inc., 515 S.E.2d 445, 449 (1999)); Jordan v. Talaga, 532 N.E.2d

 1174, 1189 (Ind. Ct. App. 1989) (explaining that a statute of repose “sets a cap on the maximum

 time limit allowed for the commencement of an action without expanding the regular statute of

 limitations or reasonable time period for providing notice applicable to the underlying cause of

 action”). Statutes of repose are intended to be a substantive definition of rights, not merely a

 procedural limitation on the remedy used to enforce the rights. Bolick v. Am. Barmag Corp., 293

 S.E.2d 415, 418–20 (N.C. 1982).

        The purpose of Indiana’s product liability statute of repose “is to place a temporal limit

 upon liability for a product’s defects.” Stump v. Ind. Equip. Co., 601 N.E.2d 398, 401 (Ind. Ct.

 App. 1992). The Indiana General Assembly imposed a cut-off date after which the manufacturer

 could not be held liable for defects existing at the time of production in response to the rising

 costs of insurance that was “fueled by huge increases in the number of product liability claims,

 large increases in the amounts of settlements and awards, and indications that the victim of an

 allegedly defective product was favored over the maker of that product in the tort process.” Scalf

 v. Berkel, Inc., 448 N.E.2d 1201, 1204 (Ind. Ct. App. 1983). Indiana set the outer limit at ten

 years after a product is first delivered to the initial user or consumer. Dague v. Piper Aircraft

 Corp., 418 N.E.2d 207 (Ind. 1981) (interpreting I.C. § 34-20-3-1). Indiana Code section 34-20-3-

 1 applies “in any product liability action in which the theory of liability is negligence or strict

 liability in tort.” The statute of repose does not include claims for breach of warranty. See B & B

 Paint Corp. v. Shrock Mfg., Inc., 568 N.E.2d 1017, 1019–20 (Ind. Ct. App. 1991) (holding that

 UCC governs breach of warranty claim, which should be treated as contractual claims separate

 and distinct from a strict products liability cause of action arising out of tortious conduct by the


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 manufacturer).

          The legislative intent of North Carolina’s statute of repose applicable to product liability

 actions was to limit the manufacturer’s liability after a certain period of years had elapsed from

 the date of initial purchase for use or consumption. Tetterton v. Long Mfg. Co., 332 S.E.2d 67,

 73–74 (N.C. 1985). That time, in North Carolina, is six years. N.C. Gen. Stat. § 1-50(a)(6). “All

 product liability claims, regardless of their nature, are subject to this statute.” Nat’l Prop.

 Investors, VIII v. Shell Oil Co., 950 F. Supp. 710, 713 (E.D.N.C. 1996).

          Because the Plaintiff’s claim would be time-barred by North Carolina’s six-year statute

 of repose, but not by Indiana’s ten-year statute of repose, the difference between the period of

 potential liability expressed in the laws of the two states is important enough to affect the

 outcome of the litigation.2 Having determined that a conflict exists, the Court must apply

 Indiana’s choice of law rules, which adhere to a traditional lex loci delicti rule.



 2.       The Place of the Wrong

          The Defendant asserts that North Carolina is the location of the tort because the last event

 necessary to make it liable for the alleged wrong took place in North Carolina. The Plaintiffs,

 unable to avoid the fact that they suffered their injuries in North Carolina, still argue that Indiana

 law should apply. They assert that “the location of a tort of this nature should be determined by

 where the offending act is committed and not simply where the injury is felt.” (DE 34 at 4–5.)


          2
             The Plaintiffs assert that even if North Carolina substantive law applies, their claims are timely because
 the statute of repose does not apply to disease-related claims and the complaint was filed within the applicable
 statute of limitations. Whether this assertion is true does not alter the underlying conflict between the two statutes of
 repose. Neither party has suggested that the choice of law analysis is unnecessary. Moreover, as will be discussed
 later in this Opinion, this Court does not believe that the North Carolina Supreme Court would apply such a disease
 exception to this case.

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 Using this logic, the Plaintiffs argue that the place of the wrong is Indiana because “the

 offending act was not the surgical implantation of the defective product,” or the diagnosis of

 osteolysis, but the Defendant’s “negligent design . . . [and] manufacture of the medical device,

 the marketing and distribution of the defective product, and negligent and/or fraudulent

 misrepresentations made regarding the quality of the product.” (DE 34 at 5.)

        The Plaintiffs’ attempt to substitute the place where the offending conduct occurred over

 the place where the last event necessary to complete the tort transpired is an improper

 application of Indiana choice of law rules for torts: the Court is permitted to consider the place

 where the conduct causing the injury occurred only if it first determines that the location of the

 tort is insignificant to the action. Alli, 854 N.E.2d at 379 & n.4 (stating that the “other contacts”

 stage of the choice of law analysis is “reached only after the court has first concluded that the

 place of the tort is insignificant”); Simon, 805 N.E.2d at 805 (explaining that “[i]f the location of

 the tort is insignificant to the action, the court should consider other contacts that may be more

 relevant”); Hubbard, 515 N.E.2d at 1073 (“In those instances where the place of the tort bears

 little connection to the legal action, this Court will permit the consideration of other factors such

 as: 1) the place where the conduct causing the injury occurred.”); see also Big Rivers Elec. Corp.

 v. Gen. Elec. Co., 820 F. Supp. 1123, 1125 (S.D. Ind. 1992) (stating that a court will be

 permitted to evaluate other factors, such as the “place where the conduct causing the injury

 occurred,” when the place of the tort is an insignificant contact). Therefore, the Court must

 determine the location of the tort, and then determine whether that state’s contacts are

 insignificant to the action, before it can even consider other contacts.

        The Plaintiffs offer no legal authority for their argument that the last event necessary to


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 complete the torts, and therefore the location of the tort in a product liability action, is not the

 state where the plaintiff suffers injury from the product. In fact, the Plaintiffs’ position directly

 contradicts Alli v. Eli Lilly and Co., 854 N.E.2d 372 (Ind. Ct. App. 2006). In Alli, the court held

 that the last event necessary to complete the torts of strict products liability, misrepresentation,

 and negligence brought against the manufacturer of antidepressant medication was the injury that

 occurred when the plaintiff’s husband committed suicide. 854 N.E.2d at 378. Here, the last event

 giving rise to the Plaintiffs’ claims based on a product’s defects was the injury and physical harm

 Klein suffered when he developed osteolysis. See e.g., id.; Simon, 805 N.E.2d at 805 (stating that

 the last event making the defendant liable for wrongful death occurred when the plane crashed

 and the decedents died even though the negligent acts occurred prior to the plane crash); see also

 Consol. Rail Corp. v. Allied Corp., 882 F.2d 254, 256 (7th Cir. 1989) (noting that “the injury is

 usually, but now always, the last act necessary to complete the tort”).

         Thus, North Carolina, as the state where the prosthesis failed and caused injury, is the

 place where the last event necessary to make the defendant liable for the alleged wrong took

 place. The next step of the analysis is to determine whether North Carolina’s contact is

 insignificant to the action, thereby permitting the Court to consider other contacts.



 3.      Significance of North Carolina’s Contacts

         The presumption in favor of applying North Carolina law will be overcome only if its

 contact is insignificant such that it “bears little connection” to the legal action. Hubbard, 515

 N.E.2d at 1073–74. “In a large number of cases, the place of the tort will be significant and the

 place with the most contacts.” Id. at 1073. It is a rare case where the place of the tort bears little


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  connection to the legal action. See, e.g., Simon, 805 N.E.2d at 806 (holding that the state where a

  plane crashed was “one of the rare cases in which the place of the tort is insignificant”).

         The Plaintiffs are hard-pressed to argue that North Carolina’s contacts are insignificant

  and bear little connection to their claims to recover for physical injuries caused by the

  Defendant’s product. This is not a case where the injury “might have occurred anywhere,” such

  as when a plane flies over multiple states during the course of its journey. Simon, 805 N.E.2d at

  806 (holding that place of a plane crash was insignificant). Rather, the Plaintiff purposefully

  sought medical treatment in North Carolina, maintained a patient-doctor relationship in North

  Carolina, and underwent surgery to implant the product at issue in North Carolina.

         The Indiana Court of Appeals recent application of Indiana choice of law rules in Alli is

  instructive under these circumstances. In that case, the widow of a patient that committed suicide

  brought a products liability and wrongful death action against the manufacturer of an

  antidepressant medication. The defendant was headquartered in Indiana, but the plaintiff’s late

  husband lived, worked, was treated for depression, and committed suicide in Michigan. 845

  N.E.2d at 375. After determining that Michigan and Indiana law conflicted and that the suicide

  was the last event necessary to complete the alleged torts, the court examined Michigan’s

  connection to the legal action. Id. at 378–79. The court found that the place of the tort was

  significant:

         Here, it is undisputed that Daren lived and worked in Michigan. Daren consulted
         with a Michigan physician and received all of his medical treatment in Michigan.
         Dr. Chase’s decision to prescribe Daren Prozac and Daren’s decision to take
         Prozac occurred in Michigan. The Prozac samples dispensed from Dr. Chase’s
         Michigan office to Daren were provided to Dr. Chase in Michigan by Lilly’s
         Michigan-based sales representatives. Daren took Prozac in Michigan and took
         his own life there as well.


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  Id. at 379.

          Just as in Ali, the place of the Plaintiff’s injury is significant. The Plaintiff lived in,

  consulted with doctors, and received all his medical treatment in North Carolina. The doctor’s

  decision to surgically implant the Defendant’s product, and the Plaintiff’s decision to undergo

  the surgery, occurred in North Carolina. The product was delivered to North Carolina for the

  doctor’s and the Plaintiff’s use there. After the surgery, the Plaintiff continued to live and seek

  medical care in North Carolina, which is also the place where the prothesis began to fail and

  where the Plaintiff developed osteolysis.

          Moreover, the Seventh Circuit’s opinion in In re Bridgestone/Firestone, Inc., 288 F.3d

  1012 (7th Cir. 2002), suggests that the place of injury is significant in this case. The Defendants

  in In re Bridgeston/Firestone argued that the place of the plaintiffs’ financial injuries bore little

  connection to their breach of warranty and consumer fraud claims. 288 F.3d at 1016. In

  considering this argument, the court reflected whether Indiana had ever applied the law of a state

  where a product was designed, or promotional materials drafted, to a suit arising out of an injury

  that occurred in Indiana to an Indiana resident. The court found that “[n]either Indiana nor any

  other state has applied a uniform place-of-the-defendant’s-headquarters rule to product-liability

  cases.” Id. It held that Indiana’s choice of law rule would select the fifty states and multiple

  territories where the buyers of defective tires lived, and not the place of the seller’s headquarters.

  Id. at 1018.

          When the Seventh Circuit, and more recently the Indiana Court of Appeals, were given

  the opportunity to rule that the place of injury was not significant to claims arising out of

  defective products that were manufactured in another state, they did not do so. This Court,


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  likewise, declines to make such a ruling. The Plaintiffs have not rebutted the presumption in

  favor of applying the law of North Carolina, as the state where the last event making the

  Defendant’s liable occurred. Therefore, the Court need not determine the existence and relative

  importance of any other contacts.



  4.     Public Policy Exception

         In their final attempt to avoid the application of North Carolina substantive law, the

  Plaintiffs argue that doing so would offend the public policy of Indiana. They contend that North

  Carolina has given its manufacturers much broader protection than that contemplated by

  Indiana’s more consumer-friendly statute of repose. Because there is nothing “immoral,

  unnatural, unjust, or prejudicial to the general interests of the citizens of Indiana” about North

  Carolina’s six year statute of repose, the Court will not apply the narrow public policy exception

  to this case. Alli 854 N.E.2d at 380 (declining to apply public policy exception where sister

  state’s laws gave drug manufacturers an absolute defense under certain conditions where Indiana

  law might permit recovery).

         Although Indiana courts need not apply the statutes of another state if to do so would

  violate the public policy of Indiana, Schaffert by Schaffert v. Jackson Nat’l Life Ins. Co., 687

  N.E.2d 230, 234 (Ind. Ct. App. 1997), “[t]his public policy exception is very narrow,” Alli, 854

  N.E.2d at 379–80:

         To justify disregard of another state’s laws on public policy grounds, that state’s
         laws “must appear to be against good morals or natural justice or prejudicial to
         the general interests of the citizens of this State.” Maroon v. State, Dep’t of
         Mental Health, 411 N.E.2d 404, 411 (Ind. Ct. App. 1980) (quoting Wabash R. Co.
         v. Hassett, 83 N.E. 705 (1908)); see also Schaffert, 687 N.E.2d at 234. In
         Schaffert, this court reiterated that “[w]e leave the doctrine to its traditional

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         application in cases dealing with, inter alia, gaming contracts, lotteries, and
         marriages within the prohibited limits of consanguinity.” Id. (quoting Maroon,
         411 N.E.2d at 412).

  Alli, 854 N.E.2d at 379–80 (parallel citation omitted).

         Here, not only is the general interest of the citizens of Indiana not at issue (the Plaintiffs

  are North Carolina residents), but the fact that Indiana’s legislative scheme differs from North

  Carolina’s with respect to the time frame in which consumers may sue a manufacturer for

  product defects, is not sufficient to show that public policy forbids the Court from enforcing

  North Carolina’s laws. See Alli, 854 N.E.2d at 380; Schaffert, 687 N.E.2d at 234 (both quoting

  excerpt from Judge Cardoza’s opinion in Loucks v. Std. Oil Co. of N.Y., 120 N.E. 198 (1918)). A

  difference in legislative schemes is not enough to show that public policy forbids enforcement of

  a foreign right because “[w]e are not so provincial as to say that every solution of a problem is

  wrong because we deal with it otherwise at home.” Loucks, 120 N.E. at 201.

         Indiana’s ten-year statute or repose does not render North Carolina’s six-year statute of

  repose wrong such that application of North Carolina law would offend the public policy of

  Indiana.



  B.     North Carolina Statute of Repose

         The Plaintiffs filed their suit on August 15, 2005. The product alleged to be defective was

  surgically implanted in the Plaintiff’s left hip over six years earlier in 1998. North Carolina’s

  statute of repose prohibits “any action for the recovery of damages for personal injury . . . based

  upon or arising out of any alleged defect or failure in relation to a product” that is “brought more

  than six years after the date of initial purchase for use or consumption.” N.C. Gen. Stat. § 1-


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  50(a)(6).3

           The Plaintiffs argue that, even if North Carolina law applies to their claims, this six-year

  statute of repose does not bar Klein’s claim for injuries from osteolysis. This argument appears

  to be supported by the Fourth Circuit’s recognition of a disease exception to the statute of

  repose. For example, in Hyer v. Pittsburg Corning Corp., 790 F.2d 30, 34 (4th Cir. 1986), the

  court held that N.C. Gen. Stat. § 1-50(6) did not bar the plaintiff’s claim for damages for

  asbestosis even though the product giving rise to the injury was purchased more than six years

  before the onset of the plaintiff’s disease. See also Guy v. E.I. DuPoint de Nemours & Co., 792

  F.2d 457 (4th Cir. 1986) (holding that the statute of repose did not apply to a claim for chronic

  obstructive lung disease for exposure to disocynate); Siver v. Johns-Manville Corp., 789 F.2d

  1078, 1080 (4th Cir. 1986) (holding that the statute of repose did not apply to an action for

  wrongful death as a result of disease contracted from exposure to asbestos). The Fourth Circuit

  has extended this exception beyond occupational diseases. See Bullard v. Dalkon Shield

  Claimants Trust, 74 F.3d 531, 535–37 (4th Cir. 1996) (holding that North Carolina’s statute of

  repose did not apply to the plaintiff’s pelvic inflammatory disease, which she alleged was caused

  by the insertion of a Dalkon Shield intrauterine device).

           The Hyer, Guy, Silver, and Bullard courts derived their rulings from their understanding

  of the North Carolina Supreme Court’s decision in Wilder v. Amatex Corp., 336 S.E.2d 66 (N.C.

  1985), which involved an asbestos-related disease claim against an asbestos manufacturer. What

  has complicated matters regarding the Fourth Circuit’s application of the disease exception

  recognized in Wilder to the product liability statute of repose (§ 1-50(a)(6)) is that the Wilder

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              N.C. Gen. Stat. § 1-50(a)(6), as it appears today, was previously § 1-50(6). The Court will use these two
  citations interchangeably.

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  decision involved an entirely different statute of repose. In Wilder, the court held that N.C. Gen.

  Stat. § 1-15(b), which was repealed in 1979, did not apply to claims arising out of disease. 336

  S.E.2d at 70. The Wilder court did not address § 1-50(6).

         The Defendant takes issue with the Fourth Circuit’s application of Wilder and the disease

  exception to § 1-50(a)(6). The Defendant contends that the Fourth Circuit’s 1986 decision in

  Hyer v. Pittsburg Corning Corp. wrongly predicted that the North Carolina Supreme Court

  would apply the disease exception to claims that would otherwise be barred by the product

  liability statute of repose. It submits that when the Fourth Circuit continued to follow this

  decision in later cases, it did so without reconsideration or elaboration and its prediction is not

  binding on this Court. The Defendant notes that no North Carolina state court has ever applied

  the disease exception to the 1979 product liability statute of repose at issue in this case. Rather,

  the North Carolina case in which the disease exception was first recognized, Wilder v. Amatex

  Corp., considered the legislative intent behind a 1971 statute that applied to tort actions

  generally and involved the accrual of personal injury claims. It argues that the accrual statute,

  which has been repealed and replaced by another statute, is not like the absolute bar found in §

  1-50(a)(6). Thus, the reasoning of Wilder is not applicable to the absolute bar created by the

  product liability statute of repose.

         In support of its argument, the Defendant points to the language of the statute, which acts

  as an absolute bar to any action brought six years after the sale of a product, even if the plaintiff

  has not yet suffered injury. It also argues that North Carolina treats this statute as a substantive

  part of its product liability laws and construes it broadly to achieve the purposes of the state’s

  Product Liability Act. It contends that the purpose of the Act would be defeated by any disease


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  exception.



  1.     Analysis of the North Carolina Supreme Court’s Holding in Wilder v. Amatex Corp.

         Because the Fourth Circuit has relied on the decision in Wilder as the basis for its

  determination that the statute of repose does not apply to claims arising out of disease, this

  Court’s analysis will also start with Wilder.

         The statute addressed by the North Carolina Supreme Court in Wilder provided:

         Except where otherwise provided by statute, a cause of action, other than one for
         wrongful death or one for malpractice arising out of the performance or failure to
         perform professional services, having as an essential element bodily injury to the
         person or a defect in or damage to property which originated under circumstances
         making the injury, defect or damage not readily apparent to the claimant at the
         time of its origin, is deemed to have accrued at the time the injury was discovered
         by the claimant, or ought reasonably to have been discovered by him, whichever
         event first occurs; provided that in such cases the period shall not exceed ten
         years from the last act of the defendant giving rise to the claim for relief.

  N.C. Gen. Stat. § 1-15(b) (Interim Supp. 1976) (repealed 1979). The court noted that the primary

  purpose of § 1-15(b) was to change the accrual date from which the period of limitations began

  to run “on latent injury claims.” 336 S.E.2d at 69 (examining the line of cases that established

  “the rule that the statute of limitations in negligence and warranty claims begins to run when the

  injury, however slight, is first inflicted, notwithstanding that the injured claimant might then be

  justifiably unaware of the injury”). The purpose of § 1-15(b) was to enlarge the time within

  which an action for damages could be brought. Id. at 70. However, a second, limiting provision

  was also included:

         To prevent the statute from subjecting tort feasors to suit for alleged acts or
         defaults so far in the past that evidence as to the event would be difficult to secure
         and intervening causes would be likely, though difficult to prove, the Legislature
         added this proviso: “[p]rovided that in such cases the period [i.e., the period

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          within which the action may be brought] shall not exceed ten years from the last
          act of the defendant, giving rise to the claim for relief.”

  Id. (brackets in original).

          The court reasoned that this last proviso, like the accrual portion of the statute, applied

  only to latent injury claims. Id. (“Expressly, the proviso is limited to ‘such cases’” and, therefore,

  it “applies only to cases in which the bodily injury, . . . for which damages are sought was not

  readily apparent to the claimant at the time of its origin.”) (quoting Raftery v. Constr. Co., 230

  S.E.2d 405, 409–10 (N.C. 1976)). This meant that in latent injury cases “the action must be

  brought within ten years from the wrongful act or default even though the plaintiff did not

  discover the injury until later.” Id.

          Thus, as it applied in Wilder, if the plaintiff’s asbestos-related disease was a latent injury,

  his claim would be barred by the statute of repose contained in § 1-15(b) and he would not be

  entitled to any relief against the asbestos manufacturer. But this was not the result the court

  reached; it held that claims based on disease were not latent injury claims because the first

  identifiable injury occurs when the disease is diagnosed, at which point it is no longer latent. Id.

          A disease presents an intrinsically different kind of claim. Diseases such as
          asbestosis, silicosis, and chronic obstructive lung disease normally develop over
          long periods of time after multiple exposures to offending substances which are
          thought to be causative agents. It is impossible to identify any particular exposure
          as the “first injury.” Indeed, one or even multiple exposures to an offending
          substance in these kinds of diseases may not constitute an injury. The first
          identifiable injury occurs when the disease is diagnosed as such, and at that time
          it is no longer latent.

  Id. (noting that the statute was not drafted as a response to cases that involved disease, but to

  situations where it was possible to identify a single point in time when the plaintiff was first

  injured, such as those cases involving a fire or a sponge left in a patient’s body during surgery).


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         The court stated that an examination of worker’s compensation statutes and the North

  Carolina Supreme Court’s interpretation of those statutes demonstrated that the court and the

  legislature had “long been cognizant of the difference between disease on the one hand and other

  kinds of injury on the other from the standpoint of identifying legally relevant time periods.” Id.

  at 71. It concluded that the legislature, when it considered occupational diseases, “almost always

  equated the disease’s manifestation or its diagnosis as being the ‘injury’ from which various time

  periods began to run.” Id. at 72.

         The court reasoned that because the legislature already recognized in 1971,when it

  drafted § 1-15(b), that exposure to a disease-causing agent was not itself an injury, there was no

  need for the legislature to treat diseases as latent injury claims for purposes of determining when

  time periods begin to run. Id. at 72 (“That point had already been well established by both the

  legislature and [the North Carolina Supreme Court] in the occupational disease context as the

  date of diagnosis.”). The Court concluded that the legislature enacted § 1-15(b) to change the

  accrual date for latent injury claims, and that manifested, diagnosed, diseases are not latent. Id. at

  73.

         The court stated that it was bolstered in its opinion by changes in the bill from its original

  introduction to its final enactment into law because the original versions specifically referred to

  disease, but the final enactment omitted all references to claims arising out of disease. Id. The

  court concluded,

         [i]n light of the statute’s purpose, the state of the law when the statute was
         enacted, and the deliberate omission of reference to disease as this statute made
         its way through the legislative process, we are satisfied that the legislature
         intended the statute to have no application to claims arising from disease.

  Id.

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  2.       Application of Wilder to Successor Statutes

           This Court must attempt to predict whether the North Carolina Supreme Court would bar

  the Plaintiffs’ claims under § 1-50(a)(6) or find, as the Plaintiff urges, that diseases are excepted

  from the statute of repose.4 Under the reasoning of Wilder (the only state court decision to

  address such an exception), this question turns on what types of claims the statute of repose

  encompasses. N.C. Gen. Stat. § 1-50(a)(6) states that “no action for recovery of damages for

  personal injury . . . shall be brought” more than “six years after the date of initial purchase for

  use or consumption.” Id. Therefore, if the injury arising from a disease caused by a defective

  product is a “personal injury,” the Plaintiff’s claims are barred. If such injuries from diseases are

  not personal injuries for purposes of the statute, the bar in the statute would not apply to the

  Plaintiff’s claim (assuming that osteolysis is considered a disease). This Court’s examination of

  § 1-50(a)(6) and North Carolina state court decisions leads it to conclude that the North Carolina

  Supreme Court would not exclude claims arising from disease from the product liability statute

  of repose.

           Section 1-50(6) was enacted in 1979 with Chapter 99B, the Product Liability Act, to deal

  with claims against manufacturers. See Colony Hill Condo. I Ass’n v. Colony Co., 320 S.E.2d

  273, 277 (1984) (finding that “[t]he generality of the language in § 1-50(6) indicates that the

  legislature intended to cover the multiplicity of claims that can arise out of a defective product”);

  Bernick v. Jurden, 293 S.E.2d 405, 412–13 (N.C. 1982) (stating that § 1-50(6) was enacted with

  Chapter 99B to cover those actions to which that chapter applies). Chapter 99B applies to “any

  action brought for or on account of personal injury, death or property damage caused by or

           4
            There is not provision under North Carolina law that allows a federal district court to certify unsettled
  questions of state law to the North Carolina Supreme Court for resolution.

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  resulting from the manufacture, construction, design, formulation, development of standards,

  preparation, processing, assembly, testing, listing, certifying, warning, instructing, marketing,

  selling, advertising, packaging or labeling of any product.” N.C. Gen. Stat. § 99B-1(3).

         The Wilder court based its ruling on several factors:

         In light of the statute’s purpose, the state of the law when the statute was enacted,
         and the deliberate omission of reference to disease as this statute made its way
         through the legislative process, we are satisfied that the legislature intended the
         statute to have no application to claims arising from disease.

  336 S.E.2d at 73. Using these same factors, the Court predicts that the North Carolina Supreme

  Court would not find that the legislature had the same intentions with regard to § 1-50(a)(6).

         First, the two statutes were not enacted for the same purpose. While the purpose of § 1-

  15(b) was to enlarge the time for plaintiffs who suffered latent injuries to file claims, the purpose

  of § 1-50(a)(6) was to set an outer limit on manufacturer’s liability. An unpublished opinion in

  Adams v. A.J. Ballard, Jr. Tire & Oil Co., 2006 WL 1875965, *25 (N.C. Super. Ct. June 30,

  2006) provides a good synopsis of the legislative intent of § 1-50(a)(6):

         The Supreme Court of North Carolina noted that “the obvious intent of the
         legislature . . . was to limit . . . manufacturers’[ ] liability after a certain period of
         years had elapsed from the date of initial purchase for use or consumption.”
         Tetterton v. Long Mfg. Co., 332 S.E.2d 67, 74 (1985). The Court of Appeals
         found that N.C.G.S. § 1-50(6) “is intended to be a substantive definition of rights
         which sets a fixed limit after the time of the product’s manufacture beyond which
         the seller will not be held liable. Davidson v. Volkswagenwerk, 336 S .E.2d 714,
         716 (1985). The Court of Appeals further described the six-year statute of repose
         by reasoning that “the public policy of this State is to protect North Carolina
         manufacturers and designers as well as the North Carolina courts from stale
         claims based on injuries occurring long after the purchase of an allegedly
         defective product and long after a defendant participated in its manufacture or
         design.” Boudreau v. Baughman, 356 S .E.2d 907, 911 (1987), rev’d in part,
         modified and aff’d in part, 368 S.E.2d 849 (1988). “It is apparent from the face of
         the statute that the North Carolina legislature intended to establish a fixed cut-off
         date to bar actions brought after six years alleging an injury caused by a
         manufactured good.” Lindsay v. Public Serv. Co., 725 F. Supp. 278, 282

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           (W.D.N.C. 1989), appeal dismissed, 732 F. Supp. 623 (W.D.N.C. 1990).

  2006 WL 1875965 at *25 (parallel citations omitted). Section 1-50(a)(6) contains no accrual

  language.5 Nor is it limited to latent injuries, i.e, those that “originated under circumstances

  making the injury . . . not readily apparent,” § 1-15(b).6

           Second, the state of the law when the statute was enacted led the Wilder court to

  conclude that there was no need for the legislature to change the accrual date for diseases

  because they were not latent. 336 S.E.2d at 73. Section 1-50(a)(6) does not address latent injuries

  or accrual; it is not even a statute of limitations. Thus, the state of the law regarding when

  diseases are considered injuries for accrual purpose is of no relevance. What is relevant is

  manufacturers’ exposure to stale claims before § 1-50(6) was enacted. The North Carolina

  Supreme Court recognized that, in passing § 1-50(6), the legislature made a substantive change

  in the conditions precedent to a product liability cause of action. See Bolick v. Am. Barmag

  Corp., 293 S.E.2d 415, 420 (N.C. 1982) (stating that the legislature has the authority to establish



           5
              The diagnosis of a disease still begins the accrual period for any statute of limitations. Dunn v. Pac.
  Employers Ins. Co., 418 S.E.2d 645, 647 (N.C. 1992). However, the diagnosis would not affect the date from which
  the statute or repose began to run. See, e.g., Bryant v. Adams, 448 S.E.2d 832, 835 (N.C. App. 1994) (explaining that
  statutes of repose differ from ordinary statutes of limitations because they begin to run at a time unrelated to the
  traditional accrual of a cause of action). “A statute of repose ‘serves as an unyielding and absolute barrier that
  prevents a plaintiff’s right of action even before his cause of action may accrue.’” Id. (quoting Black v. Littlejohn,
  325 S.E.2d 469, 475 (N.C. 1985)).

           6
              Section 1-50(a)(6) is not even the successor statute to § 1-15(b). A separate statute, N.C. Gen. Stat. § 1-
  52(16), is the successor statute to § 1-15(b). Pembee Mfg. v. Cape Fear Constr. Co., 329 S.E.2d 350, 353 (N.C.
  1985) (stating that § 1-52(16) replaced § 1-15(b)); Wilder, 336 S.E.2d at 69 (comparing § 1-15(b) to successor
  statute § 1-52(16)); id. at 74 (stating that many state legislatures’ response to a wave of litigation involving delayed
  manifestation injuries, together with time-delayed product injuries, was to enact statutes like the repealed N.C. Gen.
  Stat. § 1-15(b) “and its successor” N.C. Gen. Stat. § 1-52(16)) (Myer, J. dissenting). The notes to the current § 1-15
  provide, “[f]or provision covering subject matter similar to that of repealed subsection (b) of this section, which
  related to accrual of causes of action for personal injury . . . in cases other than those covered by subsection (c) of
  this section [relating to a cause of action for malpractice], see G.S. 1-52(16).” Thus, there is no reason to suppose
  that § 1-50(a)(6) is intended to serve the same purpose.


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  “a condition precedent to what originally was a common law cause of action”). If a plaintiff’s

  action is not brought within the legislatively-designated time of six years, he “literally has no

  cause of action.” Tipton & Young Constr. Co. v. Blue Ridge Structure Co., 446 S.E.2d 603, 605

  (N.C. Ct. App. 1994) (quoting Rosenberg v. Town of N. Bergen, 293 A.2d 662, 667 (N.J. 1972)).

         For the third factor, the Wilder court had the benefit of earlier versions of the statute that

  included disease. With regard to § 1-50(a)(6), there is no indication that the legislature ever

  considered making claims arising out of disease an exception to the statute of repose, either

  through language that was considered and excluded, or by the language that was ultimately

  enacted.

         “The best indicia of legislative intent are the language of the act, the spirit of the act, and

  what the act seeks to accomplish.” Dunn, 418 S.E.2d at 648. There is no evidence that the

  legislature did not intend § 1-50(a)(6) to act as an absolute bar to any product liability action

  filed “more than six years after the date of initial purchase for use or consumption.” N.C. Gen

  Stat. § 1-50(a)(6). One North Carolina Supreme Court decision that has considered the effect of

  § 1-15(b)’s successor statute (§ 1-52(16)) on disease claims bolsters this conclusion.

         In Dunn v. Pacific Employers Insurance Co., 418 S.E.2d 645 (N.C. 1992), a widow filed

  a wrongful death action against her husband’s employer on a theory of negligence after he died

  from contracting an occupational disease as a result of exposure to hazardous materials at work.

  The applicable time periods for bringing an action for wrongful death are set out in N.C. Gen

  Stat. § 1-53:

         Within two years—
         (4) Actions for damages on account of the death of a person caused by the
         wrongful act, neglect or fault of another under G.S. 28A-18-2; the cause of action
         shall not accrue until the date of death. Provided that, whenever the decedent

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           would have been barred, had he lived, from bringing an action for bodily harm
           because of the provisions of G.S. 1-15(c) or 1-52(16), no action for his death may
           be brought.

  N.C. Gen Stat. § 1-53(4). N.C. Gen. Stat. § 1-52(16), which replaced § 1-15(b), provides a three

  year statute of limitations:

           Unless otherwise provided by statute, for personal injury or physical damage to
           claimant’s property, the cause of action, except in causes of actions referred to in
           G.S. 1-15(c), shall not accrue until bodily harm to the claimant or physical
           damage to his property becomes apparent or ought reasonably to have become
           apparent to the claimant, whichever event first occurs. Provided that no cause of
           action shall accrue more than 10 years from the last act or omission of the
           defendant giving rise to the cause of action.

  N.C. Gen. Stat. § 1-52(16). Because the widow brought the action more than three years after her

  husband was diagnosed with a fatal disease, but within two years of his death, the court’s focus

  was on the proviso regarding § 1-52(16).7 418 S.E.2d at 646. After reciting the language of § 1-

  52(16), the court cited Wilder for the proposition that, “[i]n occupational diseases cases, such as

  the instant case, a cause of action grounded in negligence accrues when the disease is

  diagnosed.” Id. at 647 (citing Wilder, 336 S.E.2d at 72). The court held that if a claim for injuries

  had become time-barred under § 1-52(16) during the decedent’s life, a claim for wrongful death

  also becomes time-barred. Id. at 648. In the Dunn case, § 1-52(16), as applied through the

  wrongful death statute, did not bar the widow’s claim:

           In the instant case, decedent’s liver cancer was diagnosed on 29 August 1985
           following a laparotomy and biopsy at Duke Medical Center. Decedent’s bodily
           injury claim, had he lived, would have accrued on 29 August 1985 and would
           have been time-barred three years later under N.C.G.S. § 1-52(16). Decedent
           died on 24 June 1987. On that date, his bodily injury claim would not have been
           time-barred. Thus, this wrongful death claim, having been filed within two years
           of decedent’s death, is not time-barred by any of the provisions of N.C.G.S. §

           7
             Section 1-15(c), also reference in § 1-53(4), applies to causes of action for malpractice and was not at
  issue in the Dunn case.

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         1-53(4).

  Dunn, 418 S.E.2d at 648 (emphasis added). In Dunn, the North Carolina Supreme Court

  explicitly stated that a disease claim would be barred three years after diagnosis under § 1-

  52(16). Thus, the statute applies to claims arising out of disease, even though its predecessor, §

  1-15(b), did not.

         This application of § 1-52(16) is consistent with Wilder and with the differences in the

  language of § 1-15(b) and § 1-52(16), a difference the Wilder court “importantly” noted. 336

  S.E.2d at 69. In Wilder, the Court stated that § 1-15(b) was “not intended to be a statute of

  limitations governing all negligence claims, such as the statute of limitations contained in the

  first clause of 1-52(16).” Id. Rather, its “primary purpose was to change the accrual date from

  which the period of limitations begins to run on latent injury claims.” Id. In his dissent, Justice

  Myers interpreted this reference to mean that § 1-52(16) would not bar claims based on

  occupational diseases diagnosed before October 1, 1979, (the effective date of § 1-15(b)’s repeal

  and § 1-52(16)’s enactment), but would bar claims based on diagnoses after that date. Id. at 75

  (concluding that he would vote to hold that § 1-15(b) as written prior to its repeal in 1979 was

  applicable to the plaintiff’s disease claim and that § 1-52(16) is applicable to all occupational

  disease claims in which the diagnosis occurred subsequent to its effective date, “a fact which the

  majority seems to concede but does not state.”).

         The reason the Wilder court labeled the difference between the two statutes as an

  important one (and why Justice Myers stated that the majority conceded that § 1-52(16) is

  applicable to disease claims) became obvious when the court used the fact that § 1-15(b) was

  limited to latent injury claims only to hold that the statute did not apply to claims arising out of


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  disease. This same reasoning cannot apply to the current § 1-52(16), which is not limited to

  latent injury claims. If the discovery and accrual portions of § 1-52(16) apply to disease claims,

  such that they can be time-barred three years after being diagnosed, the proviso stating that “no

  cause of action shall accrue more than 10 years from the last act or omission of the defendant

  giving rise to the cause of action” also applies. N.C. Gen. Stat. § 1-52(16).8

           The Wilder court did not reference § 1-50(6), even though it was already enacted when it

  issued its opinion. There is no indication that its holding would apply to § 1-50(a)(6). In fact, to

  do so would completely ignore the distinction the Wilder court made between the statute at issue,

  which applied only to latent injury claims, and § 1-52(16). It would also contradict the Supreme

  Court’s reasoning in Dunn because if § 1-52(16) does not except disease claims, the straight-

  forward statute of repose found in § 1-50(a)(6) cannot except such claims.9



  3.       Fourth Circuit Opinions

           The federal courts in North Carolina have held that, like repealed § 1-15(b), § 1-50(6)’s

  reference to personal injury does not include disease. In Gardner v. Asbestos Corp., Ltd., 634 F.

  Supp. 609 (W.D.N.C. 1986), an asbestos disease case, the court rejected the defendant’s



           8
             Moreover, the proviso in § 1-15(b) was limited to “in such cases” (referring to latent injury cases) whereas
  the proviso in § 1-52(16) applies to all causes of action. Thus, the plain language indicates that the statute of repose
  applies to all causes of action for personal injury even if the first part of the statute was limited to latent injury
  claims. N.C. Gen. Stat. § 1-52(16) (“Provided that no cause of action shall accrue more than ten years from the last
  act or omission”) (emphasis added).

           9
             It is not disputed that § 1-50(a)(6), rather than the more general statute of limitations and repose found in
  § 1-52(16), governs the Plaintiff’s claims for damages from a defective product. See Forsyth Mem’l Hosp., Inc. v.
  Armstrong World Indus., Inc., 444 S.E.2d 423, 447–48 (N.C. 1994) (holding that § 1-52(16) does not apply where a
  more specific statute governs the cause of action); Reece v. Homette Corp., 429 S.E.2d 768, 769–70 (N.C. Ct. App.
  1993) (holding that “[u]nless otherwise provided by statute” clause in § 1-52(16) meant that it did not apply where
  another statute dealt more directly and specifically with the situation).

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  argument that Wilder had no bearing on the applicability of § 1-50(6) because while § 1-15(b)

  applied only to latent injury claims, § 1-50(6) applied to all actions for personal injury arising

  from a defect or failure in relation to a product.

         While it is true as defendants argue that the purpose of Section 1-50(6) is broad in
         its protection of manufacturers and vendors from the results of long forgotten
         acts, nothing in the legislative history cited to the Court by defendant gives any
         indication that the Legislature intended to expand the definition of personal injury
         beyond that intended in the statute construed in Wilder. It appears to this Court
         that an accurate forecast of the North Carolina Supreme Court’s construction of
         Section 1-50(6) is most plainly instructed by the Court’s construction of the
         earlier statute of repose. That decision makes it plain in the language quoted
         above that the State Supreme Court does not consider disease to be included
         within a statute of repose directed at personal injury claims unless the Legislature
         expressly expands the language to include it.

  Gardner, 634 F. Supp. at 612. The court did not discuss the latent injury issue or the differences

  between § 1-15(b), § 1-52(16), and § 1-50(6).

         The Fourth Circuit, in Hyer v. Pittsburg Corning, 790 F.2d 30 (4th Cir. 1986), also cited

  Wilder as its authority for holding that the North Carolina Supreme Court would hold that § 1-

  50(6) does not bar a plaintiff’s claims for damages for asbestosis even though the product

  alleged to have caused the injury was purchased more than six years before the onset of the

  disease. 790 F.2d at 34. After explaining the Wilder court’s holding, the court cited to the above-

  quoted language from Gardner without further explanation. Id.

         As noted, these opinions do not actually discuss the latent injury distinction that was the

  linchpin of the Wilder court’s decision. The Fourth Circuit decided Hyer twenty years ago,

  shortly after the North Carolina Supreme Court decided Wilder. The circuit then continued to

  follow Hyer without reconsideration or elaboration. The court’s statement, that the definition of

  personal injury was not “expressly” expanded to include disease, exposes its misstep. Wilder


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  does not stand for the proposition that “disease” must be expressly included in the definition of

  injury. The Wilder court did not hold that diseases were not injuries; it held that they were not

  latent injuries. Because an in-depth analysis was not conducted, the narrow application of Wilder

  was missed: diseases are only excluded if a statute is limited to latent injury claims. This led to

  an inaccurate prediction of how North Carolina state courts would rule on the coverage of the

  product liability statute of repose. The North Carolina Supreme Court’s 1992 decision in Dunn

  confirms that it does not believe that diseases must be specifically and expressly included in a

  statute of limitations or repose directed at personal injury claims for claims arising out of disease

  to be included in their coverage.

          Although federal courts are bound to state court precedents in interpreting state law,

  there is no authority that requires a district court that is attempting to predict how the highest

  state court would rule to follow the decision of federal courts sitting in that state. The Seventh

  Circuit has said that it will carefully consider the decisions of other circuits, but that it does not

  defer to them and, in its duty to independently decide cases, may disagree with decisions of other

  circuits. Atchison, Topeka and Santa Fe Ry. Co. v. Pena, 44 F.3d 437, 443 (7th Cir. 1994).

  Likewise, “[d]istrict courts should not follow other circuits uncritically.” Midwestern Gas

  Transmission Co. v. McCarty, 120 F. Supp. 2d 1155, 1173 (S.D. Ind. 2000), rev’d on other

  grounds, 270 F.3d 536 (7th Cir. 2001) (citing Citizens for a Better Env. v. Steel Co., 230 F.3d

  923, 927–28 (7th Cir. 2000)).

          This Court’s consideration of the statutory language and North Carolina state court

  decisions leads it to conclude that if the North Carolina Supreme Court were faced with the

  question whether § 1-50(a)(6) applies to personal injury claims arising out of disease, it would


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  answer in the affirmative, finding no exception to the product liability statute of repose.

         Because the Defendant’s product was implanted in Mitch Klein more than six years

  before he filed suit, his claim, and Rice’s consortium claim, are barred under N.C. Gen. Stat. § 1-

  50(a)(6).



                                           CONCLUSION

         For the foregoing reasons, the Defendants’ Motion for Summary Judgment [DE 19] is

  GRANTED. Judgment will be entered in favor of the Defendants and against the Plaintiffs.

         SO ORDERED on January 31, 2007.

                                                s/ Theresa L. Springmann
                                                THERESA L. SPRINGMANN
                                                UNITED STATES DISTRICT COURT




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